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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

WILLIS C. PERRY III,

Plaintiff,
CASE NO.:
Vv.

RICK SINGH, individually and personally,
and RICK SINGH in his professional capacity as
ORANGE COUNTY PROPERTY APPRAISER,

Defendants.
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL
Plaintiff WILLIS C. PERRY, III (“Plaintiff”), sues the Defendants, RICK SINGH,
individually, (“Singh”) and RICK SINGH ORANGE COUNTY PROPERTY APPRAISER
(“OCPA”) (collectively “Defendants”) and alleges as follows:
PRELIMINARY STATEMENT
I. Plaintiff alleges that Defendant unlawfully suspended, and subsequently
terminated, him immediately following Plaintiff's complaints to the Orange County Property
Appraiser’s Office regarding the agency’s ramped unethical, illegal and fraudulent activities
regularly occurring within the office. Plaintiff was also terminated for complaining about a hostile
working environment and blatant racial discrimination with respect to equal pay and promotional
opportunities for minority employees.
FACTUAL ALLEGATIONS
2, This is an action for damages that exceeds $15,000.00, exclusive of interest, court
costs and attorneys’ fees.

me Plaintiff is an individual residing in Orlando, Orange County, Florida.
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4, Defendant Singh is an individual residing in Orlando, Orange County, Florida.

5, Defendant OCPA is a Florida governmental agency with its principal places of
business in Orlando, Orange County, Florida.

6. All acts and transactions that are the subject matter of this suit occurred within the

jurisdiction of the Orlando Division of the United States District Court for the Middle District of

 

Florida.
CONDITIONS PRECEDENT
7, Defendant is a Florida governmental agency with more than (15) employees.
8. On or about April 3, 2017, Plaintiff timely filed a charge of discrimination with the

U.S. Equal Employment Opportunity Commission (“EEOC”), and the Florida Commission on
Human Relations (“FCHR”).

9. More than 180 days have passed since the time that the EEOC and/or the FCHR
received the Charge of Discrimination on behalf of Plaintiff.

10. A copy of the Plaintiff's Notice of Dismissal and Right to Sue is attached hereto
Exhibit E.

11. Accordingly, all conditions precedent to bringing this action, including, but not
limited to, the administrative requirements, have been satisfied or otherwise waived.

FACTUAL ALLEGATIONS

12. At all relevant times, Plaintiff was employed by Defendant OCPA as a Human
Resources Manager at the Orange County Property Appraiser’s office, located at 200 S. Orange
Avenue, Orlando, FL. Plaintiff worked for OCPA since July 2015, until his retaliatory discharge

on January 6, 2017.
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13. The work environment at OCPA during Plaintiff's tenure was dysfunctional,
mismanaged and oppressive. Many employees were fearful and distrustful of the administration
due to the culture created by Defendant Singh.

14. As Property Appraiser, Singh made many poor management decisions, including
hiring unqualified friends and family in positions of significant authority without providing proper
training or adequate oversight. One employee hired by Defendant Singh, the Defendant’s Director
of Communications, had many adversarial dealings with a number of OCPA employees, including
Plaintiff. The Director of Communications was never held accountable for her misconduct,
presumably as a result of what was widely perceived as Singh’s extra-marital affair with the
Director of Communications.

15. On June 10, 2016, Plaintiff provided a formal written complaint to Defendants
outlining instances of sexual harassment and hostile working environment that were perpetrated
by the Director of Communications, and that were being condoned by Defendants. See Exhibit
A.

16. In that letter, Plaintiff complained that Director of Communications was a bully,
blatantly fabricated lies regarding her interactions with Plaintiff and other OCPA employees, made
overtly racist comments, and regularly antagonized employees without a reasonable basis. As a
result of Director of Communications’ conduct, and Defendants’ failure to address ongoing
workplace issues, at least four OCPA employees resigned (some without notice)!, due to the

insufferable working environment. Id.

 

* OCPA’s Chief Operating Officer abruptly resigned after 17 years of service, abandoning a $170,000
annual salary with no employment prospects. OCPA’s Chief Attorney also abruptly resigned from an
annual salary of $121,000 with no other employment prospects. Several other employees who voiced
concerns or criticisms regarding OCPA’s toxic culture were selectively terminated by Defendants or quit.
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17. Plaintiff also complained in his letter that: 1) African-American employees,
including Plaintiff, were paid significantly less than other employees for the same or greater work:
2) employees that shared Singh’s nationality/ national origin held the majority of the upper-level
management positions and received the highest pay in the office (despite being the numeric
minority in the office); and 3) no African-Americans, including more qualified individuals such as
Plaintiff, were members of upper-management.

18. In his letter, Plaintiff requested that:

a. all harassment by the Director of Communications be addressed and stopped by
Defendants immediately:

b. all false allegations made against Plaintiff be either proven or retracted in the form
of a written statement by the Director of Communications:

c. a salary/wage survey be performed in the office to establish parity amongst all
OCPA employees; and

d. that OCPA review promotional opportunities for qualified African-American
employees to enter into upper-management positions.

19. No investigation into Plaintiff's complaints were ever performed by Defendants,
nor was any response ever provided to Plaintiff regarding his complaints.

20. Nonetheless, Plaintiff continued to perform his job to the best of his ability, while
the office environment continued to deteriorate. Specifically, Plaintiff witnessed a myriad of
concerning office practices such as:

Fraudulent Audit Practices

e Defendant Singh illegally authorized and directed the deletion, alteration,

removal, destruction and/or creation of false documents in preparation for

submitting inauthentic documents to the Orange County Comptroller’s office in the
June 2015 financial audit.
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e Defendant Singh threatened Martha Haynie, former Orange County Comptroller, with
a racial discrimination lawsuit against one of her employees to gain favor in the June
2015 financial audit.

e Defendant Singh directed former OCPA employee(s) to Photoshop a photo of a 2013
Orlando event to make it appear that the event occurred in Tampa in 2015, in order to
justify a fake travel expense discovered in the June 2015 financial audit.

e Defendant Singh obtained and submitted a fake doctor’s note to justify a personal lay-
over in Dallas/Ft. Worth while on an OCPA funded business trip to Sacramento.
Defendant Singh told the Comptroller’s Office that he had to stop-over in Houston,
and could not take a direct flight to Sacramento, due to an ailing back. However,
Defendant acquired the doctor’s note after the trip and only after the Comptroller
questioned the travel expense.

Public Records Act Violations

 

e Defendant Singh continually violated Chapter 119, Florida Statutes, the “Florida
Public Records Act,” by:

* Maintaining several personal email accounts from which he conducted official
OCPA agency business and deliberately avoiding public records disclosure,
by forwarding emails to his personal accounts and deleting emails from his
official OCPA account;

* Deleting agency emails from the Greenspoon Marder law firm (his daughter
Amrita D. Singh’s employer), and requesting that the law firm resubmit
invoices without his daughter’s name, to conceal the fact that she, in a conflict
of interest, performed legal work for the OCPA’s office; and

« Instructing the Director of Communications to intentionally delay responding
to public records requests and to re-draft documents to intentionally omit
adverse information from being included in document productions.

Abuse of Authority/ Property Tax Favors

e Defendant Singh instructed Terry Taylor (“Taylor”), OCPA Residential Real Estate
Director,’ to increase the square footage of Defendant Singh’s home, and thus increase
the value of his home that he was attempting to sell, despite the fact that no property

 

* Taylor worked on Defendant Singh’s election campaign and was hired as Real Estate Director on the
day after Defendant Singh’s election. Defendant Singh also permits Taylor to collect full pay of at least
$95,000 and benefits from OCPA while also being paid $3-5k to teach real estate classes during working
hours. Taylor does not use vacation time to teach the classes.
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appraiser was ever sent to re-assess the home and no documents exist to justify the
increase in the square footage or the home’s increase in sales price.

e Defendant Singh also directed Taylor to increase the square footage of Defendant
Singh’s campaign contributor and FBC Mortgage co-founder’s home, and reduce the
overall assessed value of the home by $100,000 dollars, which resulted in a substantial
and continuing property tax reduction (also without any property re-assessment or
petition by the owner for a property re-assessment).*

e Defendant Singh scheduled unnecessary real estate continuing education classes* with
OCPA employees, so that his son, Avenash Singh, a non-OCPA employee, could
attend the class to renew his own appraisal license (which was inactive due to
his son missing his own continuing education renewal deadline).

Improper Campaign Activities

e Defendant Singh required quid pro quo or/and kickbacks from vendors in exchange
for their campaign contributions. Specifically,

" Defendant Singh awarded a contract to CAMA vendor E-ring, Inc.; however,
E-ring, Inc. returned the contract payments after being continually harassed
by Defendant Singh’s insistence on having it make additional campaign
contributions, and no longer having qualified leadership to execute the project
following the COO’s abrupt departure: and

« It is believed that Defendant Singh revoked contracts with several vendors,
including Access Data Solutions and Aerial Photography, for their failure to
provide additional campaign contributions as requested by Defendant.

e Defendant Singh regularly required OCPA employees to perform personal campaign
errands for him during office hours, such as soliciting and collecting campaign
contributions and chauffeuring him to campaign events.”

e Defendant Singh hired family friend (who was also the highest paid clerical
temporary employee at OCPA) to work on his re-election campaign during

 

* FBC Mortgage was also a sponsor of Defendants’ 2015 State of West Orange Real Estate event.

4 All residential and commercial OCPA appraisers had just renewed their licenses in 11/2016 and
weren't due to renew again until 11/2018.

5 Defendant Singh also had OCPA employees pick up his suits from the mall, pick up his personal
medicine, even requested that an OCPA employee pick him up at home in an unmarked OCPA vehicle so
that he could be chauffeured for personal purposes and avoid discovery.
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office hours, including making campaign calls, keeping contribution logs and
donor statuses, and organizing and creating campaign materials.

e Defendant Singh ordered campaign materials and postage for his re-election campaign
and recorded them as OCPA office supplies.

Conduct for Personal Benefit/Financial Gain

e Defendant Singh receives a stipend from OCPA for use of his personal vehicle,
despite the fact that he drives an OCPA SUV full-time. Defendant receives these
payments three months in arrears to avoid detection from public record or audit.

e Defendant Singh flew to Tallahassee on July 29, 2014 in a private plane

chartered by businessman Nik Patel without reporting it as a gift as required by
Florida Statutes.

e Defendant Singh has purchased electronic equipment (iPads, computers,
phones, etc.) paid for by OCPA taxpayer funds for his exclusive personal use
and directed OCPA employees to destroy any records of the purchases in order
to retain them as personal property

e Defendant Singh does not allow his OCPA issued SUV usage to be tracked or
recorded as with other OCP vehicles. Defendant Singh parks his OCPA issued
SUV at his house and claims that it is in need of repair in order to rent vehicles
(at the expense of OCPA) to travel in and out of the state for personal use
without being tracked.

21. | Outraged after witnessing these and other unethical activities, Plaintiff lost all
confidence in Defendant Singh’s moral capacity and his ability to lawfully and effectively manage
the OCPA office.

22. As such, on November 7, 2016, concerned about the manner in which the office
was operating, and the depths that Defendant Singh would sink to conceal his unethical behavior,
Plaintiff prepared a second letter to Defendants outlining some of the inappropriate, unethical and
fraudulent activities perpetrated by Defendants, and requested that attention be paid to certain
matters. See Exhibit B.

23. On November 16, 2016, Defendant requested OCPA’s outside legal counsel, Frank

Kruppenbacher, to investigate the allegations made by the Plaintiff in his November 7. 2016 letter.
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24, On or about November 22, 2016, Plaintiff was told that he was being suspended
with pay as a result of the investigation.

25. On December 19, 2016 Plaintiff received a letter from Tatsiana Sokalava
(“Sokalava”),° OCPA’s new Chief Operating Officer (and Defendant Singh’s 2016 re-election
campaign manager), on behalf of Defendants, stating that it had “been concluded there is no basis
to support the allegations of wrong doing” from the Plaintiff's November 7, 2016 letter to
Defendant. See Exhibit C.

26. Sokalava’s letter also stated that there were “certain new matters regarding
Plaintiff's performance as an employee that had been raised”. Sokalava gave Plaintiff until
December 27, 2016 to respond to a twenty-one-item list alleging Plaintiff's work performance
concerns. Sokalava also stated that Plaintiff was “hereby placed on leave without pay effective
immediately.”

DT Prior to Plaintiff's letters complaining of illegal and unlawful conduct on June 10,
2016 and November 7, 2016, Plaintiff had never been told of any issues regarding his work
performance, or otherwise advised of any other issues with his work performance.

28. Plaintiff responded in writing to Sokalava on December 26, 2016, stating in
summary that the letter was replete with inaccuracies and misstatements. See Exhibit D.

29. Plaintiff also stated that Defendants Singh and OCPA were attempting to

mischaracterize Plaintiff as a poor performing employee in preparation for terminating Plaintiff's

 

° Sokalva was paid over $171,000 for her campaign services, and was hired by Defendant Singh as
Chief Operating Officer after Defendant Singh’s re-election at a salary of $95,000, despite Sokalava
having worked in retail prior to her appointment and having no prior senior level management or
corporate experience, or otherwise other relevant work experience.
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employment, which was is in retaliation for complaining about how Plaintiff and other employees
were treated, and for bringing other agency illegal and unethical activities to Singh’s attention. Id.

30. A few days later, after Defendants’ alleged investigation of the facts surrounding
Plaintiff's suspension, Defendants terminated Plaintiff on January 6, 2017. Plaintiff was not given
any reason or explanation for his termination.

31. On or about March 24, 2017, Plaintiff was given information that Defendant Singh
gave negative job references and used his political connections to persuade potential employers,
the Greater Orlando Aviation Authority Osceola County, Lake County and Goodwill, not to hire
Plaintiff, despite his considerable 16 years of experience as a senior level human resources
professional.

32. Plaintiff has never received any verbal or written coaching, discipline or any other
form of communication regarding his job performance or any indication that Plaintiff was not
performing his job to Defendants’ satisfaction until after he complained about illegal and unlawful
conduct within the agency.

33. On or about June 22, 2017 the Director of Finance and the Director of
Communications wrote a letter to the Defendants complaining of similar unethical and illegal
practices being conducted by Defendants. However, these employees were not terminated, but
were suspended with pay pending an investigation. As of the composition of this complaint, both
employees are still on a paid leave of absence that has lasted over four months.

34. On information and belief, when Defendant Singh became aware of Plaintiff's
pending lawsuit, Defendant Singh requested that an employee and colleague of the Plaintiff make
a falsified claim that Plaintiff had engaged in inappropriate sexual conduct with her, and asked that

she submit a formal sexual harassment claim against Plaintiff. The employee refused to submit a
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false sexual harassment claim against Plaintiff. Defendant is intentionally attempting to create
libelous and slanderous communications against Plaintiff in retaliation for bringing these claims,

and to discredit Plaintiff's unblemished character.

COUNT I

VIOLATION OF FLORIDA WHISTLE-BLOWER ACT (Florida Statute
§112.3187) (against Defendant OCPA)

35; Plaintiff re-alleges and incorporates herein the allegations set forth in paragraphs
1-32 above.

36. At all times material hereto, Plaintiff was an “employee” of the Defendant OCPA
as defined by Section 112.3187(3)(b), Fla. Stat.

37. Plaintiff disclosed information that was an act or suspected act of gross
mismanagement, malfeasance, misfeasance, gross waste of public funds, and/or gross neglect of
duty committed by Defendants and an OCPA employee.

38. Plaintiff disclosed information that was a violation or suspected violation of
federal, state, or local law, rule, or regulation committed by Defendants and an OCPA employee,
which created a substantial and specific danger to the public's health, safety, and welfare.

39. Defendants intentionally took retaliatory action against Plaintiff, in the form of
suspension and discharge, because he disclosed the aforementioned information to a local official.

40. Defendants’ illegal retaliation against Plaintiff was willful, malicious and taken
with reckless indifference to Plaintiff's rights.

41. As a result of Defendants’ unlawful, retaliatory conduct, Plaintiff has suffered
damages, including (without limitation) economic and emotional damages.

WHEREFORE, Plaintiff demands damages against Defendant for violation of Florida’s

Whistle-blower’s Act, including, but not limited to, all relief available under Section 112.3187,
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Fla. Stat., including (a) reinstatement or front-pay, (b) compensation for lost wages, benefits, and
other remuneration, (c) any other compensatory damages allowable at law, and (d) attorney’s fees,
court costs and expenses, and (e) such other relief this Court deems just and proper.
COUNT II - FLORIDA CIVIL RIGHTS ACT
(Disparate Treatment/Unequal Pay/Failure to Promote)
(against Defendant OCPA)

42. Plaintiff re-alleges and incorporates herein the allegations set forth in paragraphs
1-32 above.

43. Plaintiff is an African-American male and a member of a protected class. While
employed with Defendant, Plaintiff was qualified for his position as a human resources manager.
Plaintiff was paid less and turned down for promotional opportunities, while less qualified
individuals outside of his protected class were paid more for the same level of authority and
employed in higher positions of management. Plaintiff's disparate treatment affected a “term,
condition or privilege” of his employment, and/or Plaintiff suffered an adverse employment action
by virtue of the disparate treatment.

44. Asa direct and proximate result of Defendant’s conduct described above, Plaintiff
has suffered compensatory damages, emotional distress, mental pain and suffering, inconvenience,
outrage, embarrassment, humiliation, loss of enjoyment of life, loss of dignity, and other non-
pecuniary losses and tangible injuries, along with lost back and front pay, interest on pay, bonuses,
and other benefits. These damages have occurred in the past, are permanent and continuing.
Plaintiff has retained counsel and is obligated to pay a reasonable attorneys’ fee, which Plaintiff is

entitled to recover under applicable law.

COUNT II —- FLORIDA CIVIL RIGHTS ACT (Retaliation)
(against Defendant OCPA)
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45. Plaintiff re-alleges and incorporates herein the allegations set forth in paragraphs
1-32 above.

46. | The FCRA prohibits discriminatory and retaliatory employment practices against
employees because they have opposed unlawful employment practices and have complained of
such unlawful practices.

47. Plaintiff complained and/or objected to Defendant about conduct that constituted
racial discrimination and violations of a law, rule or regulation. Accordingly, Plaintiff engaged in
protected opposition conduct under the FCRA.

48. Despite Plaintiff's complaints, no action was taken by Defendant to remedy the
unlawful conduct. Instead, Plaintiff was terminated for engaging in statutorily protected activity.

49, Defendant also engaged in retaliatory conduct when it intentionally gave Plaintiff's
potential employers a negative reference for purposes of prohibiting Plaintiff from seeking
comparable employment following his termination.

50. As a direct and proximate result of Defendant’s conduct described above, Plaintiff
has suffered compensatory damages, emotional distress, mental pain and suffering, inconvenience,
outrage, embarrassment, humiliation, loss of enjoyment of life, loss of dignity, and other non-
pecuniary losses and tangible injuries, along with lost back and front pay, interest on pay, bonuses,
and other benefits. These damages have occurred in the past, are permanent and continuing.
Plaintiff has retained counsel and is obligated to pay a reasonable attorneys’ fee, which Plaintiff is
entitled to recover under applicable law.

COUNT IV — Title VII (Disparate Treatment/Unequal Pay/Failure to Promote)
(against Defendant OCPA)

51. Plaintiff re-alleges and incorporates herein the allegations set forth in paragraphs

1-32 above.
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52. Plaintiff is an African-American male and a member of a protected class. While
employed with Defendant, Plaintiff was qualified for his position as a human resources manager.
Plaintiff was paid less and turned down for promotional opportunities, while less qualified
individuals outside of his protected class were paid more for the same level of authority and
employed in higher positions of management. Plaintiff's disparate treatment affected a “term,
condition or privilege” of his employment, and/or Plaintiff suffered an adverse employment action
by virtue of the disparate treatment.

53. Asa direct and proximate result of Defendant’s conduct described above, Plaintiff
has suffered compensatory damages, emotional distress, mental pain and suffering, inconvenience,
outrage, embarrassment, humiliation, loss of enjoyment of life, loss of dignity, and other non-
pecuniary losses and tangible injuries, along with lost back and front pay, interest on pay, bonuses,
pension and other benefits. These damages have occurred in the past, are permanent and
continuing. Plaintiff has retained counsel and is obligated to pay a reasonable attorneys’ fee, which
Plaintiff is entitled to recover under applicable law.

COUNT V -— Title VII (Retaliation)
(against Defendant OCPA)

54. Plaintiff re-alleges and incorporates herein the allegations set forth in paragraphs
1-32 above.
55. Title VII prohibits discriminatory and retaliatory employment practices against

employees because they have opposed unlawful employment practices and have complained of
such unlawful practices.

56. Plaintiff complained and/or objected to Defendant about conduct that constituted
racial discrimination and violations of a law, rule or regulation. Accordingly, Plaintiff engaged in

protected opposition conduct under Title VII.
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57. Despite Plaintiff's complaints, no action was taken by Defendant to remedy the
unlawful conduct. Instead, Plaintiff was terminated for engaging in statutorily protected activity.

58. Defendant also engaged in retaliatory conduct when it intentionally gave Plaintiff s
potential employers a negative reference for purposes of prohibiting Plaintiff from seeking
comparable employment.

59. Asa direct and proximate result of Defendant’s conduct described above, Plaintiff
has suffered compensatory damages, emotional distress, mental pain and suffering, inconvenience,
outrage, embarrassment, humiliation, loss of enjoyment of life, loss of dignity, and other non-
pecuniary losses and tangible injuries, along with lost back and front pay, interest on pay, bonuses,
and other benefits. These damages have occurred in the past, are permanent and continuing.
Plaintiff has retained counsel and is obligated to pay a reasonable attorneys’ fee, which Plaintiff is
entitled to recover under applicable law.

COUNT VI — 42 U.S.C. § 1981 via 42 U.S.C. § 1983 (First Amendment Retaliation)
(against all Defendants)

60. Plaintiff re-alleges and incorporates herein the allegations set forth in paragraphs
1-32 above.
61. Plaintiff is an African-American male and a member of a protected class. While

employed with Defendant, Plaintiff engaged in various protected free speech activities protected
by the First and Fourteenth Amendment, with respect to matters of legitimate interest to the public.

62. Defendant OCPA and Defendant Singh, acting both individually and under the
color of authority, and in violation of Plaintiff's right and privileges under the First and Fourteenth
Amendment of the United States Constitution, deprived Plaintiff of his constitutional right to free

speech and the right to petition without fear of redress.
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63. As a direct and proximate result of Defendants’ conduct described above, Plaintiff
has suffered compensatory damages, emotional distress, mental pain and suffering, inconvenience,
outrage, embarrassment, humiliation, loss of enjoyment of life, loss of dignity, and other non-
pecuniary losses and tangible injuries, along with lost back and front pay, interest on pay, bonuses,
and other benefits. These damages have occurred in the past, are permanent and continuing.
Plaintiff has retained counsel and is obligated to pay a reasonable attorneys’ fee, which Plaintiff is
entitled to recover under applicable law.

WHEREFORE, with respect to Counts II-VI, Plaintiff respectfully requests that this Court
enter a judgment awarding all such legal and equitable relief as well effectuate the purpose of the
aforementioned statutes including, but not limited to: a) awarding appropriate damages, including
back pay and front pay, damages for pain and suffering or emotional damages, and punitive
damages, b) issuing a declaratory judgment that Defendants’ practices are violative of Plaintiff's
rights under the applicable statutes, c) enjoining Defendants from continuing or maintaining the
policy, practice and custom of denying employees their statutory rights under the applicable
statutes, d) ordering Defendants to place Plaintiff in the position he would have had, absent
Defendants’ unlawful discrimination and retaliation, e) restoring Plaintiff with credits of all other
employee benefits they would have received but for the Defendants’ discrimination and retaliation,

and, f) award Plaintiff's his costs and attorneys’ fees pursuant to statutory authority.

DEMAND FOR JURY TRIAL
Plaintiff demands a trial by jury on all issues so triable.

van
Dated this 4" awe August, 2018.
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Respectfully submitted,

TAS

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EXHIBIT A
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6/10/2016

To: Rick Singh
From: Willis Perry

Please let this letter serve as my formal notice of complaint to Rick Singh - Orange County Property Appraiser
(OCPA) of a hostile work environment and sexual harassment perpetrated by OCPA employee, Laverne
McGee. In addition. | am also waging a complaint of race and wage discrimination by the Orange County
Property Appraiser’s office.

The work environment at OCPA is disruptive, dysfunctional, and laden with mistrust, resentment, and anger led
mainly by Laverne McGee and upheld by the Orange County Property Appraiser.

Ms. McGee has committed numerous improper and unethical acts, made unsubstantiated claims of me
stalking and harassing her, exhibited harassing and threatening behavior towards me. sent defamatory emails
to my supervisor and the Property Appraiser, blatantly lied about me, made racist overtones/comments and
has gotten into arguments with me (and mostly every other employee in Admin Services). This has
established a pattern of conduct sufficiently severe or pervasive to alter the conditions of employment.
Additionally, the disparate treatment, favoritism and the working conditions during (approximately the last 12
months) have become so intolerable that at least four (or more) out of ten employees have felt compelled to
resign without notice in Admin Services alone. The Chief Operating Officer has recently resigned after 17
years of service, at an annual salary of over $170,000 and no other job prospects because of the current
working conditions. There have been 2-3 new employees at each position in Admin Services since 2013. To
date, there is over 100% turnover in Admin Services and 54% overall turnover at OCPA since that time
frame.

Working conditions are so hostile that even prospective human resources employees have turned down
opportunities to work at OCPA after interviewing with the Property Appraiser citing his attitude and a
perceived hostile work environment/poor culture based on the totality of the circumstances.

African-American employees at OCPA are paid significantly less than all other ethnic groups on average.
Employees of the Property Appraiser’s ancestral nationality hold the majority of the upper level management
positions, receive the highest pay and are the almost the fewest in number within OCPA. The rest of upper
management Consists of Caucasians while no African-Americans (male or female) hold an upper management
position. Relocation, higher pay and short-term advancement have been afforded to others, yet | have been
denied when the requesting the same.

The remedy | am seeking is for the harassment to stop immediately by Ms. McGee. In addition, all false
allegations made against my character by Ms. McGee need to be either proven or retracted in the form of a
written apology. A wage survey needs to be conducted internally to establish parity amongst all OCPA
employees as well as the promotion of African-American employees into upper management positions. |
would also like to be made whole for all relocation expenses occurred when I was told by the Property
Appraiser and Chief Operating Officer that OCPA does not pay for relocation, when indeed OCPA has.
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Before now | have sought and followed Mr. Singh’s advice in regards to Ms. McGee but things have only
gotten worse. | have tried to keep these issues within OCPA with the hopes of things getting better. Other
employees who have voiced their displeasure or have provoked the ire of Ms. McGee or OCPA have been
pressured to quit or have been selectively terminated. By speaking out formally, | am now definitely fearful of
unlawful retaliation by Ms. McGee and/or the Orange County Property Appraiser’s office as a result of me
reporting any violations of a law, rule or regulation and waste. | have had no written or verbal work performance
issues from the start of my employment thru year-to-date. | have mentioned on more than one occasion to my
supervisor that my primary care physician has diagnosed me with pre-hyper tension as a result of this hostile

work environment. Instituting civil action and/or participation in a statutory or regulatory proceeding may be
continued or ensued.

Willis Perry

Willis Perry

Cc: U.S. EEOC — Miami District Office
Florida Commission on Human Relations
Employee File
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Willis Perry

From: Willis Perry

Sent: Friday, November 18, 2016 5:17 PM

To: Rick Singh

Subject: FW: Open Enrollment Reminder -McGEE EMAIL RESPONSE

This was originally written on 10/28/2016. For your discussion. Thanks.

Willis Perry

Human Resources Manager
407.836.5032 work | 407.836.5238 fax
wperry @ocpafi.org | www. ocpafl.omg

From: Willis Perry

Sent: Monday, November 07, 2016 11:55 AM

To: Willis Perry

Subject: RE: Open Enrollment Reminder -McGEE EMAIL RESPONSE

It's interesting that anyone who ever responds to any of your emails is accused of a condescending harsh tone and of
being inappropriate.

You are the last person in this agency that should be commenting on the appropriateness and condescending manner of
someone's actions.

Below are a few notable examples, but not an all-inclusive list of your inappropriateness (at the least) as a paid full-time
OCPA Director:

The five employees that quit while working for you because of your bullying of them is inappropriate and illegal;
You trying to camouflage your resignation from Florida Diversity is inappropriate and unethical;

OCPA having to pay outside companies and non-OCPA communication staff to write your office
correspondence/communications (i.e. social media posts, speeches, etc.) is inappropriate and not a prudent use
of tax payer dollars;

As the Director of Communications/Lobbying and a salary of over $97,500, having to be taught how to post on
Twitter, Facebook, use an iPad and basic OCPA software is inappropriate and shows your inexperience for the
position;

» Your repeated violation of the dress code policy is inappropriate at the least as a Director;

» You deliberately leading the efforts to falsify audit documents is inappropriate, illegal and unethical;

* The comments you have made to others (especially those in non-management positions) about me and my
department are inappropriate at the least and violation of OCPA policy.

vYyY

Vv

I will reserve my comments about your inappropriate actions as a consultant for OCPA prior to being hired by OCPA for
another discussion. Please note that I didn't include in the list above your mishandling of “public records request” as
inappropriate, because we both know that is a direct violation of state law.

As for you needing help, you could have asked/discussed any concerns you may have had in person when you were in
Human Resources on 10/12 and 10/28 talking about your benefits. You were told at that time your enrollment was in
order. If the Property Appraiser and the 136 other OCPA employees take Human Resources’ word on face value, then
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maybe you should follow suit. Furthermore, out of the 136 employees, you are the only one who has raised such an
issue.

Other OCPA employees on vacation and even out of the country completed their enrollment without Human Resources
assistance by reading the materials and/or watching the instructional video. I have actually extended a professional
courtesy to you in the past, only to have you unsuccessfully try to use it against me, In addition, I believe you are
misinterpreting the mere statement of facts as a condescending harsh tone.

Your comment that “you run OCPA, that Rick listens to you” and that you would get me fired after the election is not only
inappropriate, a threat, harassment and violation of OCPA policy.

Thank you.
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EXHIBIT C
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RICK SINGH, CFA
ORANGE COUNTY PROPERTY APPRAISER

 

200 S. Orange Avenue, Suite 1700 - Orlando, Florida 32801-3438 + (407) 836-5044 “Exceeding Excellence”

 

 

December 19. 2016

Willis Perry
280 Rangeline Road
Longwood, Florida 32750

ine: Investigation Regarding Your E-Mail Allegations of
November 7, 2016 Addressed to the Personal Account of Rick Singh and Your Employment
with the Orange County Property Appraiser’s Office

Dear Mr. Perry:

I serve as the Chief Operating Officer for Rick Singh. Orange County Property Appraiser and have been asked
to review the matters raised in this correspondence and provide a recommendation to the Property Appraiser. To
date | am advised as follows:

Upon receipt of your email dated 11/7/2016 by Mr. Singh, Orange County Property Appraiser. at his
personal email address, Mr. Singh requested an immediate investigation into the matter. This matter was
assigned to the general counsel for investigation. Upon him notifying you that he had been assigned to an
investigation, you advised him that you were "good with the boss and good with Laverne” and you did want it
investigated. When the general counsel advised you that the investigation would go forward. you told him” it
would not be good for Mr. Singh.” Despite this admonition, the general counsel told you the investigation
would go forward.

On November 16, 2016, you were provided a memorandum from the general counsel requesting
information needed to proceed with the investigation. Thereafter, only after he did not receive the requested
information and you were then directed by Mr. Singh, did you provide the information requested. Based upon a
review of the information provided and interviews with relevant witnesses, it has been concluded there is no
basis to support the allegations of wrongdoing. In fact. in review of the timing of events, your email can be
construed as retaliation against Ms. McGee for having previously complained on multiple occasions about your
harassing and inappropriate conduct towards her. You were previously directed to avoid contact with
Ms. McGee yet there is evidence of you responding to an email from her in a derogatory and inappropriate
manner unacceptable for the head of the agency's human resources department.

Next, the investigation resulted in certain new matters being reported and learned regarding your
performance as an employee. This conduct and/or job performance if true, would warrant discipline up to and
including discharge, Although you are an at-will employee. | am providing you with the information we have
learned and an opportunity to respond to it prior to my making a final recommendation as to vour employment.
The allegations relevant to your job performance are as follows:

Ei ©

/OCPAFL @RickSinghOCPA @RickSinghOcPa /RickSinghOCPA

 
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RICK SINGH, CFA
ORANGE COUNTY PROPERTY APPRAISER

 

 

 

 

 

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I. There is no professional storage of 1-9 records.

a Various I-9 records are not in compliance with federal law.

3. The agency appears to be in non-compliance with FRCA; FMLA: HIPPA (doctor's notes are not

secured but scattered throughout your office and multiple employee files are combined),

+. there are multipie incidences of no records evidencing emplovees signing an Annual Property
Disclosure Form.

2 There is no structured agenev-wide on-boarding process.

6. The agency's FMLA policies are outdated and not in compliance with federal law.

7. Many human resource forms are out of date and appear to be being used in violation of
applicable trademark/copyright law.

8. Information provided to employees from you for open enrollment is confusing and fails to
efficiently implement the open enrollment process.

9. There is no agency wide performance review process thus permitting.

10. There is no established agency-wide training and development process for employees.

11. There is no agency-wide established promotion process.

"2 There is no established succession plan for employees of the agency.

13. There is no established discipline process for emplovees of the agency.

14. There does not exist any agency-wide EEO training for agenev employees.

15. There are multiple reports of employees providing vou documents and those documents being
lost.

16. A complete lack of filing exists based upon an inspection of your office.

17, Various employees have not had their personne! files created.

of ~

/OCPAFL  @RickSinghOCPA  @RickSinghOCPA _—/RickSinghOCPA

   
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RICK SINGH, CFA
ORANGE COUNTY PROPERTY APPRAISER

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18. There exists no matrix for analyzing turnover: reasons for turnover and proposals for correcting
any turnover issues or data collected from exit interviews.

19. - You have engaged in slanderous and divisive comments regarding a fellow employee Laverne

McGee to your subordinate employees and have thus failed to conduct yourselfin a professional manner.
20.

The documentation of an employee who was written up by their manager was not maintained in
your office.

21

You were untruthful when vou were relieved of duty and attempted to take Agency property and
when questioned stated it was not Agency property.

As you can see from my review of the above. there is evidence that you have failed to do your job or are
incapable of doing your job.

At this time. | am providing you the opportunity to report to 16" Floor Receptionist, 20 N. Orange

Avenue, Orlando, on December 27, 2014 at 4:00 p.m.. to provide me any information you want considered as I
evaluate my recommendation for what actions should be taken in this matter. You may bring a representative to
that meeting. Until conclusion of this matter. you are hereby placed on leave without pay effective immediately.

Respectfully yours,

Sf, /
/ Mw t
(Mir
‘Tatsiana Sokalava

Chief Operating Officer

Orange County Property Appraiser

SOCPAFL

 

¢ P|

@RickSinghOCPa @RickSinghOCPa

/RickSinghOCPA

 

 
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EXHIBIT D
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December 26, 2016

Tatsiana Sokalva

Chief Operating Officer

Orange County Property Appraiser
200 S. Orange Avenue, Suite 1700
Orlando, FL 32801

Re: Investigation Regarding Your E-Mail Allegations of November 7, 2016
Addressed to the Personal Account of Rick Singh and Your
Employment with the Orange County Property Appraiser's Office

Dear Ms. Sokalava,

| have had the opportunity to review your letter dated December 19, 2017. Based on
the significant mischaracterizations of my words and actions set forth in your letter,
| have serious concerns about discussing this matter in person without the benefit of
a written response. | would like to thank you for the opportunity to respond in
person. However, please let this letter serve as my response to your letter as
requested, so that my response is clear and kept in the proper context.

On Thursday, November 3, 2016, | requested a meeting with Rick Singh for the next
day, Friday, November 4, 2016. On Friday, Rick Singh replied, “regarding??”. In
response, | indicated several personnel issues that | wanted to make him aware of,
including my written email complaint regarding OCPA employee Laverne McGee. |
also indicated that we could meet on Saturday, November 5, 2016 or Sunday,
November 6, 2016 if those dates would work better for his schedule. Rick Singh
requested that I call him, which I did, but he never answered the call.

On Monday, November 7, 2017, | spoke with Rick Singh and I again informed him
about the issues | was having with OCPA employee, Laverne McGee. | told him about
the complaint email that | had written and requested that he review it immediately.
At my suggestion, and as we have done in past situations that could potentially be
damaging to OCPA and/or Rick Singh individually, he agreed that | should send my
complaint email to his personal email account so that the issue wouldn’t become

public record. This was the only reason Rick Singh’s personal email account was
used - per his request.

The genera! counsel's account of my conversation with him regarding the
investigation not going forward in your letter dated December 19, 2016 is
embellished and inaccurate. Specifically, | did not miss the deadline to provide
information. On Friday, November 18, 2016, in my office, the general counsel
personally extended the deadline for me to provide him the information needed to
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proceed with the investigation, after | told him | needed more than 26 hours to
comply. The general counsel is whom I was instructed to provide the information to
and | did what he agreed was permitted.

Most importantly, | was never directed to avoid contact with OCPA employee
Laverne McGee; however, I took it upon myself to do so. OCPA employee Laverne
McGee and I have not had any personal interaction or verbal conversations for
approximately nine months, if not longer. However, we have had to interact via or
through electronic correspondence in order to perform our respective jobs. Had |
not responded to OCPA employee, Laverne McGee's emails, | would be subjected to
the same bogus criticism for not responding. | even followed Rick Singh’s directive
to give OCPA employee, Laverne McGee preferential treatment; but that only made
her hostility towards me worsen.

When I was hired on, July 2, 2015, there was no Human Resources Manager job
description. | had to create one for the position. Consequently, all of the allegations
you allege in your letter that | did not perform were:

1. Not under the Human Resources Manager’s direct responsibility or given
authority;

Assigned to the appropriate employee upon hiring that individual;

Include tasks that did not and still do not exist today

Corrected by the Human Resources Manager; and/or

Never surfaced or brought to my attention under any circumstances until my
complaint against OCPA employee Laverne McGee and my complaints about
other improprieties going on in the OCPA’s office.

i me oN

Accordingly, | respond to each specific allegation in corresponding numbered
paragraphs as follows:

1 This job function was never the direct responsibility of the Human
Resources Manager. These tasks were historically performed by the Human
Resources Generalist position, which can be confirmed and is well documented. The
position remained vacant for ten months. The new Human Resources Generalist,
Barbara Jubran, was assigned this task upon her hiring. Additionally, objective goals
were set for her to complete these responsibilities within the first three months of
her employment.

2. See response to allegation # 1.
3. See response to allegation # 1.
4. See response to allegation # 1,
5. This job function did not exist prior to my hiring. I created an agency

onboarding process and it is being used currently. This documentation has been
provided to Rick Singh on more than one occasion.

6. See response to allegation # 1.

a See response to allegation # 1.
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8. This allegation is wholly inaccurate. The 2016 open enrollment went
extremely smoothly for 136 out of 137 employees. The only complaint that lam
aware of came from OCPA employee, Laverne McGee, who, for reasons unknown to
me, clearly has a personal and negative bias towards me personally.

9. The agency performance review process was handled by the Chief
Operating Officer prior to my hiring and remained that way until his resignation. A
new agency performance review process was implemented under my direction in
October 2016. This allegation is wholly inaccurate.

10.‘ The agency training and development process was handled by the
Administration Operation Coordinator prior to my hiring and remained that way
until her resignation. Rick Singh never allowed training or agency meetings to
become a part of Human Resources. The hiring of a new Administration Operation
Coordinator who handles agency training and meetings also evidences this.

11. The agency promotion process is listed in the OCPA employee
handbook. All promotions, position movement and financial increases are granted
on the basis of whom ever Rick Singh holds in favor at the time, and he has never
relinquished this authority.

12. The agency succession plan did not exist prior to my hiring and still
does not exist presently. Rick Singh is not in favor of such a plan and keeps that
information tightly guarded. Rick Singh and I have met on numerous occasions
regarding this subject matter. | asked him how he wanted his organization to look
going forward but no comment or follow-up ever ensued.

13. The agency discipline process, is listed in the OCPA employee
handbook.

14. See response to allegation # 10.

15. Prior to my complaint against OCPA employee Laverne McGee, there
were never any issues raised about filing or lost documentation. | am not aware of
any such reports, nor have any reports been brought to my attention.

16. After being placed on a Leave of Absence (Tuesday, November 22),
surrendering all keys to my office and losing access to my office, | have no know idea
what you or anyone else could have done to the contents and/or state of my office. |
have never had any discussions with anyone at OCPA regarding the state of my
office until your letter.

17. See response to allegation # 1.

18. This allegation is wholly inaccurate. Rick Singh and I met weekly to
discuss turnover, recruiting and possible internal placements. All resignations
letters and exit interviews were sent to Rick Singh electronically. Exit interview
paperwork was deliberately withheld from two exiting employees by Rick Singh and
Laverne McGee for fear the employees would cite working conditions, unethical
behavior and mistreatment as reasons for their departure. I created an analysis of
exit interview comments from employees who left the TPP Department disgruntled
and/or had issues with management, presented it to Rick Singh and no corrective
action was ever taken by him. Most of my time and our meetings were to discuss the
20 vacancies I had to fill in 2016 alone, the over 52% agency turnover and the over
100% Admin Services turnover since he took office. Only since his re-election has
Rick Singh tried to create and re-implement morale and team building activities.
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19. This allegation is wholly inaccurate. | went without a subordinate
employee for ten months and I did not and would not make any slanderous
comments about any OCPA employee (including Laverne McGee) to anyone in
general or a newly hired, especially as the Human Resources Manager.

20. This allegation is wholly inaccurate. | am not aware of any such
missing write-ups, nor has anything of this nature ever been brought to my
attention.

21. ‘This allegation is wholly inaccurate and slanderous. | never tried

to take any OCPA property. Rick Singh inappropriately retained personal documents
belonging to me.

in summary, I believe that your letter is replete with inaccuracies and
misstatements. | also believe that the OCPA is attempting to characterize me as a
poor performing employee in preparation for terminating my employment, which is
in retaliation for complaining about how | and other employees are treated, and for
bringing other agency improprieties to Rick Singh’s attention. I have never received
any verbal or written coaching, discipline or any other form of communication
regarding my job performance or any indication that | was not performing my job to
Rick Singh’s satisfaction.

Thank you for your attention. Please feel free to contact me if you have any
questions, or if 1 can provide any additional information.

Respectfully yours,

Willis Perry
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EXHIBIT E
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U.S. Department of Justice
Civil Rights Division
NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

 

CERTIFIED MAIL
7016 2140 0000 5580 7662

Mr. Willis Perry

c/o Jaimon H. Perry, Esquire
Perry Law Group

37 North Orange Ave.

Suite 500

Orlando, FL 32801

950 Pennsylvania Avenue, N.W.
Karen Ferguson , EMP, PHB, Room 4701
Washington, DC 20530

August 15, 2018

Re: EEOC Charge Against Orange County Property Appraiser

No. 511201701456

Dear Mr. Perry:

Because you filed the above charge with the Equal Employment Opportunity Commission, and more
than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge, and no
suit based thereon has been filed by this Department, and because you through your attorney have
specifically requested this Notice, you are hereby notified that you have the right to institute a civil
action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq., against the

above-named respondent.

If you choose to commence a civil action, such suit must be filed in the appropriate Court within 90

days of your receipt of this Notice.

The investigative file pertaining to your case is located in the EEOC Tampa Area Office, Tampa, FL.

This Notice should not be taken to mean that the Department of Justice has made a judgment as to

whether or not your case is meritorious.

cc: Tampa Area Office, EEOC
Orange County Property Appraiser

Sincerely,

John M. Gore
Acting Assistant Attorney General
Civil Rights Division

by (oe Ler i

Karen L. Ferguson
Supervisory Civil Rights Analyst
Employment Litigation Section
